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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-05449
         Tarsha D Morris

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/20/2014.

         2) The plan was confirmed on 04/29/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 09/27/2017.

         6) Number of months from filing to last payment: 43.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                 $21,429.36
        Less amount refunded to debtor                            $1,074.48

NET RECEIPTS:                                                                                      $20,354.88


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,500.00
    Court Costs                                                                  $0.00
    Trustee Expenses & Compensation                                            $857.44
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $4,357.44

Attorney fees paid and disclosed by debtor:                        $0.00


Scheduled Creditors:
Creditor                                          Claim         Claim            Claim       Principal       Int.
Name                                    Class   Scheduled      Asserted         Allowed        Paid         Paid
American Access Casualty Co         Unsecured         580.00           NA              NA            0.00        0.00
AMERICASH LOANS LLC                 Unsecured         264.08           NA              NA            0.00        0.00
ATG CREDIT                          Unsecured         149.00           NA              NA            0.00        0.00
CENTRAL CREDIT                      Unsecured          90.00           NA              NA            0.00        0.00
CITY OF CHICAGO DEPT OF REVENU      Unsecured      3,500.00       4,677.73        4,677.73        139.57         0.00
Collect Sys                         Unsecured         250.00           NA              NA            0.00        0.00
CREDIT MANAGEMENT LP                Unsecured         358.00           NA              NA            0.00        0.00
DEVON FINANCIAL SERVICE             Unsecured         520.75      1,034.92        1,034.92          30.88        0.00
GATEWAY FINANCIAL                   Secured        5,990.00     14,688.57        14,688.57     12,555.50    1,875.25
GATEWAY FINANCIAL                   Unsecured      8,752.00            NA              NA            0.00        0.00
GREEN TREE SERVICING LLC            Secured       55,000.00     61,428.32        79,696.60           0.00        0.00
GREEN TREE SERVICING LLC            Unsecured     24,696.60            NA              NA            0.00        0.00
GREEN TREE SERVICING LLC            Secured              NA     18,268.28             0.00           0.00        0.00
ILLINOIS LENDING CORP               Unsecured      3,347.00       3,347.50        3,347.50        106.80         0.00
JEFFERSON CAPITAL SYSTEMS LLC       Unsecured            NA         488.20          488.20          15.23        0.00
KAHUNA PAYMENT SOLUTIONS            Secured              NA       1,368.01        1,368.01           0.00        0.00
KAHUNA PAYMENT SOLUTIONS            Unsecured      1,368.00            NA         1,368.01          31.75        0.00
NORFOLK STATE UNIVERSITY            Unsecured      5,833.16       4,716.02        4,716.02        140.71         0.00
PAYDAY ONE                          Unsecured      3,350.00            NA              NA            0.00        0.00
PRA RECEIVABLES MGMT                Unsecured         200.00           NA              NA            0.00        0.00
PRA RECEIVABLES MGMT                Unsecured         581.00        580.65          580.65          15.32        0.00
PRA RECEIVABLES MGMT                Unsecured         720.00        719.58          719.58          16.21        0.00
PRA RECEIVABLES MGMT                Unsecured            NA         199.04            0.00           0.00        0.00
Rdk Collection Service              Unsecured          75.00           NA              NA            0.00        0.00
RJM ACQUISITIONS                    Unsecured            NA          83.73           83.73           0.00        0.00
RJM AQUISITIONS FUNDING             Unsecured          83.00         85.14           85.14           0.00        0.00
U S Dept Of Ed/Gsl/Atl              Unsecured      4,272.00            NA              NA            0.00        0.00
U S Dept Of Ed/Gsl/Atl              Unsecured      4,272.00            NA              NA            0.00        0.00
U S Dept Of Ed/Gsl/Atl              Unsecured      2,849.00            NA              NA            0.00        0.00
University of Chicago Medical Ctr   Unsecured         168.00           NA              NA            0.00        0.00
University of Chicago Medicine      Unsecured         110.38           NA              NA            0.00        0.00



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Scheduled Creditors:
Creditor                                         Claim         Claim        Claim        Principal       Int.
Name                                  Class    Scheduled      Asserted     Allowed         Paid          Paid
University of Chicago Medicine     Unsecured          88.00           NA          NA             0.00        0.00
US DEPT OF ED GREAT LAKES          Unsecured      7,823.00     14,290.93    14,290.93         455.94         0.00
US DEPT OF EDUCATION               Unsecured     13,790.00    198,254.21    19,254.21         614.28         0.00
YBuy Financial, LLC                Unsecured         260.00           NA          NA             0.00        0.00


Summary of Disbursements to Creditors:
                                                                Claim          Principal                Interest
                                                              Allowed              Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                    $79,696.60             $0.00                  $0.00
      Mortgage Arrearage                                       $0.00             $0.00                  $0.00
      Debt Secured by Vehicle                             $14,688.57        $12,555.50              $1,875.25
      All Other Secured                                    $1,368.01             $0.00                  $0.00
TOTAL SECURED:                                            $95,753.18        $12,555.50              $1,875.25

Priority Unsecured Payments:
       Domestic Support Arrearage                               $0.00                $0.00               $0.00
       Domestic Support Ongoing                                 $0.00                $0.00               $0.00
       All Other Priority                                       $0.00                $0.00               $0.00
TOTAL PRIORITY:                                                 $0.00                $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                               $50,646.62          $1,566.69                  $0.00


Disbursements:

         Expenses of Administration                             $4,357.44
         Disbursements to Creditors                            $15,997.44

TOTAL DISBURSEMENTS :                                                                          $20,354.88




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       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 11/13/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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